Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000002
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000003
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000004
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000005
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000006
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000007
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000008
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000009
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000010
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000011
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000012
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000013
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000014
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000015
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000016
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000017
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000018
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000019
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000020
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000021
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000022
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000023
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000024
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000025
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000026
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000027
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000028
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000029
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000030
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000031
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000032
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000033
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000034
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000035
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000036
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000037
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000038
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000039
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000040
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000041
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000042
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000043
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000044
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000045
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000046
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000047
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000048
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000049
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000050
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000051
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000052
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000053
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000054
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000055
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000056
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000057
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000058
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000059
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000060
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000061
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000062
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000063
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000064
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000065
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000066
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000067
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000068
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000069
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000070
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000071
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000072
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000073
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000074
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000075
Case 8-20-08049-ast   Doc 56-6   Filed 01/18/23   Entered 01/18/23 20:41:44




                                                          EHREN-WALIA 000076
